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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 14 CR 674
              v.
                                              Judge Virginia Kendall
ALDO BROWN


                     GOVERNMENT’S MOTION IN LIMINE
                    TO BAR DEFENSE EXPERT TESTIMONY

        The UNITED STATES OF AMERICA, by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois, respectfully

submits this motion in limine seeking a pretrial ruling excluding the expert

testimony of John B. Farrell proposed by defendant ALDO BROWN.

   I.      Background

   a. The Indictment

        On November 18, 2014, the grand jury returned a three-count indictment

against defendant Aldo Brown.        The charges relate to the defendant’s unlawful

seizure and use of unreasonable force, with respect to Victim A, on September 27,

2012, and the accuracy of the defendant’s own police reports documenting the

incident with Victim A, in violation of Title 18, United States Code, Sections 242

and 1519. The case has been scheduled for trial on October 19, 2015.

        Specifically, Count One of the indictment alleges that on or about September

27, 2012, the defendant, “acting under color of law, willfully subjected Victim A to

the deprivation of rights . . . , specifically the right to be free from unlawful seizures
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protected by the Fourth and Fourteenth Amendments, and the right to be free from

the use of unreasonable force protected by the Fourth and Fourteenth Amendments,

by such acts that included punching and kicking and resulted in bodily injury to

Victim A.” (Dock. #1, p. 1, ¶ 2.)

       The indictment further specifies that defendant was a Chicago Police

Department officer who, along with Officer A, “entered a convenience store located

on East 76th Street in Chicago . . . . [and] placed certain individuals inside of the

convenience store in handcuffs, including Victim A.” (Dock. 1, p.1, ¶ 1(c)). The

indictment also alleges that the defendant and Officer A “then began searching the

store and the individuals inside.” (Id.)

   With respect to the defendant’s use of force, the indictment alleges the following:

       (d) Shortly after Officer A removed the handcuffs from Victim A, defendant

       Aldo Brown struck Victim A multiple times.

       (e) At a time when Victim A was lying face down on the floor of the

       convenience store, again in handcuffs, defendant Aldo Brown recovered a

       firearm from Victim A’s rear pants pocket.

       (f) After the recovery of the firearm and while Victim A was still handcuffed

       and lying face down on the floor of the convenience store, defendant Aldo

       Brown kicked Victim A.

(Id. at p.1-2, ¶¶1(d)-(f)).

       Count Two of the indictment incorporates the allegations in Count One of the

indictment and also alleges that defendant, with the intent to impede, obstruct, and




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influence the investigation and proper administration of a matter within the

jurisdiction of the FBI, knowingly falsified and made a false entry in a Chicago

Police Department tactical response report under the specific event number

1227108076. (Dock. #1 at p. 3, ¶ 2.) Count Two further specifies that the false

statements included “that Victim A was an ‘active resister,’ who ‘fled’ and ‘pulled

away,’ and which did not indicate that defendant punched and kicked Victim A

when defendant knew that Victim A did not actively resist, attempt to flee the

situation, or pull away from defendant that defendant.” (Id.)

      With respect to Count Three, the indictment incorporates the allegations set

forth in Count One and alleges that defendant also falsified and made a false entry

in the Chicago Police Department arrest report for the same incident. (Dock. #1 at

p. 4, ¶ 4.) The indictment then identifies the portion of the arrest report that

contained multiple false statements and specifies that “defendant knew that the

arrest report was false for multiple reasons, including:

   (a) defendant Aldo Brown did not observe a firearm on Victim A at the time of

      the field interview;

   (b) defendant Aldo Brown did not know that Victim A had a firearm in his

      possession until after defendant Aldo Brown struck Victim A multiple times,

      handcuffed him for a second time, and Victim A was lying on the floor of the

      convenience store; and

   (c) Victim A did not pull away from defendant Aldo Brown as indicated in the

      arrest report.”




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(Dock. #1 at p. 4-5, ¶¶ 2(a)-(c)).

   b. Discovery

       On January 12, 2015, defense counsel filed a motion for substitution of

counsel. On January 16, 2015, this Court granted defendant’s motion to substitute

counsel. On January 21, 2015, the government sent defense counsel a copy of the

discovery in this case, along with an index of the materials, which included reports,

certain grand jury transcripts, and recordings of interviews of witnesses, including

Victim A, as well as surveillance video depicting the September 27 incident inside

the convenience store. In its Rule 16 letter, the government requested discovery of

the defendant pursuant to Rule 12 and Rule 16. To date, the government has not

received any discovery from the defense.

   c. Defendant’s Expert Disclosure

       On July 14, 2015, defendant provided the government with an Expert Report

from John B. Farrell. A redacted version of this report (omitting the names and

addresses of non-parties to the case) is attached as Exhibit 1. In summary, Farrell’s

report states that Farrell’s opinion is that defendant did not use excessive force on

September 27, 2012. The report provides that the bases for Farrell’s opinion are: (1)

the video recordings of the incident from convenience store cameras, (2) the Chicago

Police Case Report and Arrest Report, (3) Tactical Response Reports by defendant

and Officer A, and (4) an interview of defendant on July 9, 2015. Ex. 1 at 2-3. The

expert report repeatedly refers to defendant’s July 9, 2015, statements as the basis

for almost all of the conclusions made in the report. Ex. 1 at 6-8. As set forth in




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Exhibit 2 to this motion, the government has conferred with the defense regarding

the disclosure of the defendant’s July 9 statements.       The defense has failed to

respond to the government’s latest attempt to confer.

         Accordingly, for the reasons below, the government moves to exclude the

proposed expert testimony of Farrell.

   II.      Argument

         Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993), govern the admissibility of expert testimony. Experts are

permitted to testify when their testimony is “(1) based upon sufficient facts or data,

(2) the testimony is the product of reliable principles and methods, and (3) the

witness has applied the principles and methods reliably to the facts of the case.” Id.

Daubert requires the district court to act as an evidentiary gatekeeper, ensuring

that Rule 702’s requirements of reliability and relevance are satisfied before

allowing the finder of fact to hear the testimony of a proffered expert. Id. at 589, see

also Kumho Tire. Co. v. Carmichael, 526 U.S. 137, 147-49 (1999); cf. Taylor v.

Illinois, 484 U.S. 400, 410 (1988) (“The accused does not have an unfettered right to

offer testimony that is incompetent, privileged, or other inadmissible under the

standard rules of evidence.”). “The proponent of the expert bears the burden of

demonstrating that the expert’s testimony would satisfy the Daubert standard by a

preponderance of the evidence.” Jordan v. City of Chicago, 2012 WL 88158, *1,

(N.D. Ill. Jan. 11, 2012) (St. Eve, J.).




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       In this case, the defense has refused to tender all of the bases of Farrell’s

opinion, specifically, the defendant’s statements to Farrell.                      Without this

information, neither the government nor the Court can determine whether Farrell’s

proposed testimony complies with Rule 702 and Daubert. Without this disclosure, it

is nearly impossible to discern whether Farrell’s opinions are based on the

defendant’s versions of events; whether Farrell is crediting one of defendant’s

version of events over another (i.e. the police reports, tactical reports, or the July 9

statements); and what factual assumptions Farrell has made.

       Further, defendant’s out-of-court self-serving statements, which form the

basis of Farrell’s opinions, are inadmissible hearsay.                Under Federal Rules of

Evidence 702 and 703, “a party cannot call an expert simply as a conduit for

introducing hearsay under the guise that the testifying expert used the hearsay as

the basis of his testimony.” United States v. Kantengwa, 781 F.3d 545, 561 (1st Cir.

2015) (quoting Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 136 (2d Cir. 2013))

(internal quotation marks omitted); see also United States v. Beavers, 756 F.3d

1044, 1054 (7th Cir. 2014) (expert testimony based on defendant’s statements would

allow defendant to present “highly selective and favorable statements of defendant

to the jury without having to face cross-examination.”). 1 Rather, as the Second

Circuit has observed: “The appropriate way to adduce factual details of specific past

events is, where possible, through persons who witnessed those events. And the jobs

of judging these witnesses' credibility and drawing inferences from their testimony


1Under Federal Rule of Evidence 703, inadmissible facts or data may be disclosed to the jury only if
their probative value substantially outweighs their prejudicial effect.


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belong to the factfinder.” Kantengwa, 781 F.3d at 561 (quoting Marvel, 726 F.3d at

136).

        Moreover, without access to Farrell’s underlying data or facts, effective cross-

examination will be impossible at trial and therefore, the prejudicial effect of his

testimony would substantially outweigh any probative value under Federal Rules of

Evidence 403 and 703. For all these reasons, the Court should exclude Ferrell’s

proposed expert testimony.

        Alternatively, Federal Rule of Evidence 705 provides that an expert need not

disclose the fact or data underlying his opinion prior to his testimony unless the

court orders otherwise until cross-examination. This is similar to the Jencks Act’s

disclosure requirement. The Advisory Committee notes for Rule 705 state that it

“assumes that the cross-examiner has the advance knowledge which is essential for

effective cross-examination.”    Accordingly, it is within this Court’s discretion to

order the disclosure of defendant’s July 9 statements in advance of trial in order to

ensure whether Farrell’s opinions are reliable and minimize delays or disruptions

during trial.




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   III.   Conclusion

      For the reasons set forth above, the testimony of John Ferrell should be

excluded and, in the alternative, the Court should order the defense to produce

defendant’s July 9 statements to the government pursuant to Federal Rule of

Evidence 705 in advance of trial.



                                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned Assistant United States Attorney hereby certifies that in accordance

with FED. R. CRIM. P. 49, FED. R. CIV. P. 5, LR 5.5, and the General Order on Electronic Case

Filing (ECF), the following document:

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was served pursuant to the district court=s ECF system as to ECF filers on July 28, 2015.




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